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October 10, 2024


BY ELECTRONIC MAIL:
certification@legitscript.com


       RE:     LegitScript Certification of Empower Pharmacy

Dear LegitScript Certification Team,

        We write to seek clarification regarding LegitScript’s denial of the application by Empower
Pharmacy (“Empower”) for Healthcare Merchant Certification. As you know, Empower is a 503A
compounding pharmacy seeking certification from LegitScript. To date, and for reasons not made
clear to Empower, LegitScript has not granted Empower a LegitScript certification. Therefore,
Empower requests additional information to help us understand the grounds for denial and ensure
Empower’s successful certification going forward.

        Empower first applied for a Healthcare Merchant Certification from LegitScript in
November 2022. Subsequently, just one month later, LegitScript rejected Empower’s application,
providing only vague and generalized reasons for its denial. Nonetheless, through the LegitScript
appeals process, Empower challenged the Certification Board’s decision in January 2023.
Throughout the appeals process, LegitScript requested—and Empower provided—supplemental
information and documentation, including Empower’s quarterly reports submitted to the California
Board of Pharmacy and facility inspection reports. After reviewing the documentation that
Empower provided, LegitScript informed Empower in August 2023 that it continued to have
concerns regarding Empower’s regulatory compliance. With minimal guidance as to what
information it could provide to alleviate LegitScript’s concerns, Empower nevertheless
endeavored to respond to LegitScript’s request to the best of its ability. Despite Empower’s
diligent efforts to address LegitScript’s outstanding concerns, LegitScript ultimately denied
Empower’s appeal.

         In 2024, Empower submitted a new application for LegitScript certification. Empower
kept its new application up-to-date and remained responsive to each and every one of LegitScript’s
questions. In May 2024, LegitScript informed Empower that it would be moving forward with a
formal review of Empower’s application. LegitScript then sent Empower a link to a questionnaire
and a request for additional information. As with previous applications, Empower obliged and
provided LegitScript with the requested supplemental information and documents. Once again,
on June 24, 2024 LegitScript denied Empower’s application for certification. LegitScript also
imposed an unexpected six-month waiting period (ending December 24, 2024) before Empower
would even be eligible to reapply. The reason, LegitScript wrote, was to “allow for adequate time
to demonstrate sustained compliance with [LegitScript’s] Certification Standards.” LegitScript
also stated its desire that the following three items be resolved in order for certification to move
forward:



                                                  1

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   x    “All state board of pharmacy consent orders, disciplinary action, and stipulation orders are
        required to be closed out.”

   x    “FDA acknowledgement that the response provided by Empower to the FDA Form 483 is
        sufficient.”

   x    “We require inspection reports (both self-assessment and the assessment performed by the
        hired inspector) for Q2-Q4.”

       Empower understands that LegitScript does not frequently deny applications unless
applicants are unwilling to come into compliance with LegitScript’s standards. Empower also
understands that LegitScript generally works with applicants to ensure they are able to come into
compliance with LegitScript’s standards for certification. To that end, Empower requests the
following information from LegitScript to better understand the expectations and criteria set forth
by your organization.

        (1) Please provide the LegitScript criteria, as well as any other instructions, that may be
            used for evaluating and coming into compliance with the three items listed above from
            LegitScript’s June 24, 2024 email to Empower.

        (2) How does LegitScript define “online pharmacy?”

        (3) What certification criteria applies to a non-“online pharmacy” or mail order pharmacy?

        (4) At what point is a prior regulatory activity or disciplinary action “closed out” for the
            purposes of LegitScript certification?

        (5) What criteria does LegitScript use to determine when an applicant is eligible for
            monitoring and supervision to assess suitability for probationary certification?

        (6) What criteria does LegitScript use to assess whether to grant probationary certification?

        (7) What acceptable methods may an applicant use to satisfactorily demonstrate to
            LegitScript that it has “demonstrated a commitment to compliance” during the period
            between applications?

        (8) How often does LegitScript modify its certification standards?

        (9) When was the last time LegitScript modified its certification standards?

        (10)    What weight does LegitScript give to PCAB accreditations?

        (11) What criteria does LegitScript use to determine whether to impose a waiting
            period?




                                                   2

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       (12) What criteria does LegitScript use to determine the appropriate waiting period
           before reapplication after an application has been denied?

       (13) Is there a standard amount of time for a waiting period, and if not, how long is the
           typical waiting period?

       (14) To the extent that LegitScript is able, please provide your internal Standard
           Operating Procedures that address confidentiality of data collected during an
           applicant’s certification process.

       (15) Per LegitScript’s internal policies and procedures, to what extent is LegitScript
           permitted to share or disseminate information and data collected from an applicant
           during its certification process?

        Empower would greatly appreciate a prompt response to the questions above and would
like to please schedule a call to discuss whatever information LegitScript can provide along these
lines. This information will enable us to better understand LegitScript’s requirements and to make
any adjustments as needed to improve any future applications. Please let us know your next
availability to discuss these issues, which are of critical importance to Empower’s business and
customer relationships. Thank you for your time and consideration. We look forward to hearing
from you soon.

       Sincerely,

       /s/


       Vice President, Compliance
       Empower Pharmacy




                                                  3

                                                                                           Exhibit 10
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